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                          EXHIBIT A
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                                          PRIVATE AGREEMENT
                                             SALE OF ARTWO.R K
                                                 BY and BETWEEN


      AUGUST URIBE, URIBE FINE ART, LLC, address                                Pawling, NY 12564, EIN .
      -          hereinafter referred to as the SELLER of the Artwork hereinafter fully described (art.3)
                                                         AND
      The company DARTMILANO S.R.L., with registered office in Milan, Via Goldoni 1, VAT no.
      - -· REA (Register of companies) no. Ml-2592077, in the person of its legal
      representative Mr. Lanza Pier Giulio, born on                           in Milan, residing in Milan, .
                             , tax code


                                                     RECITALS


      WHEREAS, DARTMILANO S.R.L., which hereby states it is in possession of all the authorizations
      and requirements of law to carry out its activities;
      WHEREAS, it is in the interest of the Seller to enhance the Artwork better identified below and
      then to sell it
      WHEREAS, DARTMILANO SRL is interested in purchasing directly the Artwork described below
      and attached hereto a in the manner and under the terms described below.


                           NOW, THEREFORE, THE PARTIES AGREE AS FOLLOWS:
                                                   AGREEMENT


  Art. 1) SUBJECT OF THE AGREEMENT
  The following activities are the subject of this Agreement
  • HANDLING and STORAGE;
  - PURCHASE of the Artwork by DARTMILANO SRL.


  Art. 2) HANDLING AND STORAGE

  The Artwork -         better identified as follows -   must be transported within August 25"' by Fracassi
  Worldwide Shipping and hold under your name in his facility at: Aiston Fine Art, 45-21 37"' Street,
  Long Island City, NY 11101 , which is a suitable space for the custody and preservation of the Artwork.
  The Artwork will always be insured in favor of the Seller until the Purchase and Sale of the Artwork is
  completed and paid in full.




  Art. 3) ARTWORK DESCRIPTION AND PRICES
  Summary Description of the Artwork:
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  ArtisVDate:
  TitlefSubject: - -
  Media/Dimensions:




  Price:
  The Seller has full availability and title to sign this Private Agreement and undertakes to hand over at
  the signing of the contract the necessary documents of the Artwork, the Free Circulation certificate
  (when needed) or an equivalent certificate guaranteeing free movement of the work, and the certificate
  of ownership to the balance of the payment.
  The Seller hereby declares that the Artwork is not burdened by foreclosures, seizures, liens.
  guarantees, charges or constraints of any kind and that it is not involved in litigation of any kind, both
  judicial and extrajudicial.


  Art. 4) PRICE AND METHOD OF PAYMENT
  The selling price is agreed in                                                                 shall be
  paid to the Seller by bank transfer to the following bank details:
  Chase Manhattan Bank, account n.
  beneficiary name: Uribe Fine Art
  as follows:
      USD                                                               as down payment within September
      1" , 2021.
      USD                                                         as balance within November 22nd, 2021.
      The Seller will remain the legitimate and sole owner of the Artwork until the crediting of the
      balance amount as indicated above. In any case and for any reason DART should fail to pay the
      deposit or the balance within the aforementioned terms, with a tolerance of 15 working days from
      the terms, the Seller shall be entitled to regain possession of the Artwork at any time, without the
      need for any judicial title and without notice, legitimately retaining the deposit, if already received,
      which shall not be returned. Even in this case, the costs for the withdrawal of the Artwork will be
      borne by DART.




  Art.S) AMENDMENTS OR INTEGRATIONS
  Any amendment andfor integration to this agreement must be expressly agreed in writing and with the
  exact indication of the clause to be amended and/or supplemented.
  For any further written communication, the Parties will indicate their   ntacts below:
  (i) August 0. Uribe E-mail: august@uribefineart.com
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         (i) DARTMILANO SRL E-mail: pg@dartmilano.it


         Art. 7) GOVERNING LAW
         For anything not agreed and I or expressly waived in this agreement shall refer to the provisions of
         applicable law. Any dispute arising from this agreement. including those relating to its validity,
         interpretation, execution and termination, will be under the jurisdiction of the International Commercial
         Chamber of New York.


         Art. 8) SIGNATURES AND ACCEPTANCES
         a) The parties, in accordance with the laws in force, hereby declare to accept the digital signatures
         that will be made to this agreement.
         b) The Parties will have the faculty to notarize this contract in Italy or abroad, should there be the
         intention to do so.




         Milano/New York, the 19 of August 2021



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         . . ..................   V. .............   5                              DARTMILANO SRL
                                                                                   Pier Giulio Lanza
                                                                                    Sole Director




                                                                                  August 0. Uribe
                                                                                  Uribe Fine Art LLC
